                                       No. 24-1390

                  IN THE UNITED STATES COURT OF APPEALS
                          FOR THE TENTH CIRCUIT


                                ERIC COOMER, PH.D.,
                                          Plaintiff-Appellee

                                            vs.

           MAKE YOUR LIFE EPIC LLC dba THRIVETIME SHOW, et al.,
                                       Defendants


                                  JOSEPH OLTMANN,
                                            Nonparty-Appellant


      On Appeal from the United States District Court for the District of Colorado
                          Honorable William J. Martinez
                          No. 1:21-cv-03440-WJM-KAS


 APPELLEE’S MOTION FOR SANCTIONS AGAINST APPELLANT AND HIS
        COUNSEL PURSUANT TO TENTH CIRCUIT RULE 46.5


      Appellee Eric Coomer, Ph.D. (Dr. Coomer) files this Motion for Sanctions against

Appellant and his as Counsel Pursuant to Tenth Circuit Rule 46.5, and states in support as

follows:

                          CERTIFICATE OF CONFERRAL

      Pursuant to Tenth Circuit Rule 27.1, counsel for Appellee conferred with counsel

for nonparty Appellant on the relief requested. Appellant opposes the relief requested in

this Motion.   Further, counsel for Appellee conferred with counsel for Defendants.

Defendants take no position on the relief requested in this Motion.



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                                     I.     SUMMARY

       1.     Appellant Joseph Oltmann’s (Oltmann) Opening Brief (for purposes of

citation herein referred to as OB) features numerous false representations and assertions of

fact, none of which are supported by the record.                The Brief makes express

misrepresentations of material fact and deliberately misrepresents proceedings below and

in related cases. The legal arguments are frivolous and not warranted by existing law.

Furthermore, the Brief does not comply with various Tenth Circuit Rules.

       2.     Oltmann’s counsel for this appeal, Randy Corporon (Corporon), is himself a

named Defendant in related proceeding Coomer v. Salem Media of Colorado, Inc. et. al.,

Case No. 2023CA1235, currently pending before the Colorado Court of Appeals. His

representation in this matter presents an inescapable conflict of interest, wherein Corporon

has a personal financial interest in delaying and obstructing this proceeding by any means

necessary.   Unsurprisingly, Corporon has sought multiple extensions of time for no

ostensible purpose. The Opening Brief suggests Corporon’s familiarity with the facts of

this case are cursory at best, and his failure to familiarize himself with many of the relevant

pleadings is evident.

       3.     For all of these reasons, Appellee requests an Order sanctioning both

Oltmann and Corporon for the filing of this frivolous, dilatory appeal.

                               II.        LEGAL STANDARD

       4.     Every brief, motion, or other paper must be signed by at least one attorney of

record. 10th Cir. R. 46.5(A). By signing a brief, motion, or other paper, an attorney




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certifies that, to the best of the person’s knowledge, information, and belief, formed after

an inquiry reasonable under the circumstances, that:

              (1)    the paper is not being presented for any improper
                     purpose, such as to harass or to cause unnecessary delay
                     or expense in the litigation;

              (2)    the issues presented are warranted by existing law or by
                     a nonfrivolous argument for extending, modifying, or
                     reversing existing law or establishing new law; and

              (3)    the factual contentions or denials are supported in the
                     record

10th Cir. R. 46.5(B)(1-3).

       5.     If a brief, motion, or other paper is signed in violation of this rule, the Court—

on its own or on a party’s motion—may impose upon the person who signed it, a

represented party, or both, an appropriate sanction, including:

              (1)    dismissal or affirmance of the appeal;

              (2)    monetary sanctions;

              (3)    initiation of disciplinary proceedings under the Plan for
                     Attorney Disciplinary Enforcement; and

              (4)    an order to pay the other party or parties the amount of
                     reasonable expenses incurred because of the filing of
                     the paper, including reasonable attorney’s fees.

10th Cir. R. 46.5(C)(1-4).

                                   III.    ARGUMENT

A.     Appellant’s Opening Brief Contains Blatantly False Representations.

       6.     Oltmann’s Opening Brief represents that “There are no prior related appeals.”

OB, p. 6. In reality, there are five. See Appellee’s Answer Brief, p. 1. One of those is a



                                              3
prior interlocutory appeal in this case. Coomer v. Make Your Life Epic, LLC, 98 F.4th 1320

(10th Cir. 2024). Another involves Oltmann’s counsel, Randy Corporon, as a named

defendant. Coomer v. Salem Media of Colorado, Inc. et. al., --- P.3d ---, 2025 WL 209253

(Colo. App. 2025).1 And yet another involved a separate instance wherein Oltmann’s prior

counsel was sanctioned by the Colorado Court of Appeals for appealing a sanctions order

from the Denver District Court arising from the exact same discovery sought here. Coomer

v. Oltmann et. al, 2021CA1481 (Colo. App. 2022) (dismissed on Dr. Coomer’s Motion to

Dismiss on Feb. 22, 2022, and remanded to the Denver District Court for a determination

of attorney fees and costs). In every one of these appeals, Dr. Coomer prevailed.

       7.     Corporon’s nondisclosure of these related appeals is concerning for multiple

reasons. He is certainly aware of them given his status as a defendant in one of them, and

the fact that he serves as counsel for TGP Communications, LLC dba The Gateway Pundit

in Coomer v. Donald J. Trump for President, Inc.2 Each opinion provides helpful context

to the Court, including with specific reference to the Oltmann’s unreliability and long

history of discovery obstruction.

       8.     The omission of reference to Corporon’s own appeal is especially

concerning, given that his status as a defendant gives rise to an inescapable conflict of



1
  The Colorado Court of Appeals Opinion denying Corporon’s appeal of the Denver
District Court’s order denying his anti-SLAPP Motion to Dismiss was not published until
January 16, 2025, three days after Oltmann filed his Opening Brief. Nonetheless, both
Oltmann and Corporon certainly knew the appeal was pending.
2
 Exhibit A, Coomer v. Donald J. Trump for President, Inc. et. al., 2020cv34319 (Denver
Dist. Ct.), Current Attorney report as of January 31, 2025.



                                            4
interest here. Corporon was one of the first and most prolific purveyors of Oltmann’s made

up story about Dr. Coomer, and he had Oltmann on his radio show numerous times

throughout November and December of 2020.3 In fact, Oltmann’s former counsel has

implicated Corporon in potential fabrication of evidence to bolster Oltmann’s claims.4 As

a result, Corporon faces substantial personal liability if and when Oltmann finally tells the

truth about the supposed “antifa call.” This liability is separate and apart from any financial

consideration paid to Corporon by virtue of his representation in this appeal, and far

exceeds any potential reprimand for bad faith conduct here. Corporon therefore has an

independent financial motive to obstruct, delay, and encourage Oltmann’s contempt.

Corporon is also a witness given that the specific document requests at issue in this appeal

include Oltmann’s communications with Corporon.5

       9.     These considerations indicate a motive for the numerous false assertions of

material fact in the Opening Brief and Oltmann’s multiple requests for extension of time.

B.     Appellant’s Opening Brief Contains Blatantly False Assertions of Material
       Fact.

       10.    This Court’s Rules require that “the factual contentions or denials are

supported in the record.” 10th Cir. R. 46.5(B)(3). But, as discussed more below, Oltmann’s


3
 See Coomer v. Salem Media of Colorado, Inc. et. al., --- P.3d ---, 2025 WL 209253, *2-3
(Colo. App. 2025).
4
  Exhibit B, p. 1 (Dec. 29, 2021 email from Oltmann’s former counsel, Andrea Hall, stating
that “This re-creation was done for the affidavit that was created for Ms. Sidney Powell
under advice of counsel.”); id. at p. 5 (May 12, 2022 email from Hall, stating that “His
counsel was Randy Corporon.”)
5
 Exhibit C, Notice of Intent to Take Oral and Video Deposition of Joseph Oltmann with
Subpoena Duces Tecum, p. 5 (Feb. 2, 2024) (Request for Production No. 7).



                                              5
Opening Brief barely cites to the record at all. The factual misrepresentations made in the

Opening Brief containing a stream of consciousness narrative are too numerous to list here,

so Dr. Coomer focuses only on a few of the most egregious examples.

         i.      Misrepresentation of relevant orders

         11.     The Opening Brief discusses related proceeding Coomer v. Donald J. Trump

for President, Inc., specifically with respect to Oltmann’s failed attempt to shield himself

through the assertion of the Reporter’s Privilege in that case. The court’s express denial of

Oltmann’s invocation of the privilege there is highly relevant to this appeal. But Oltmann

goes out of his way to mislead the Court with respect to what occurred there. Specifically,

Oltmann claims that “Instead of dealing with the newsperson privilege, the judge directed

the parties to collaborate on a protective order that would still require disclosure of

Oltmann’s sources.” OB, p. 10. He goes on to state that “Like Judge Avery Moses in

Coomer v. Donald J. Trump for President, the lower court also chose silence on the

privilege.” OB, p. 20. These are blatant misrepresentations.

         12.     Instead, the Court in Coomer v. Donald J. Trump for President held an entire

hearing on Oltmann’s invocation of the privilege.6 It heard sworn testimony from multiple

witnesses, including Oltmann.7 It weighed all of the factors outlined in Gordon v. Boyles,

9 P.3d 1106, 1117 (Colo. 2000), with respect to application of the privilege, and heard

argument from both Dr. Coomer and Oltmann’s then counsel with respect to all of those


6
 Exhibit D, Coomer v. Donald J. Trump for President, Inc. et. al., Digital Recording
Transcript (July 7, 2021).
7
    Id. at 7:4-71:14.



                                               6
factors.8 At the conclusion of that hearing, Judge Moses made findings that Oltmann’s

testimony was “evasive and not credible”9 and that his story was “probably false.”10 On

the basis of these findings, the Court then ordered the parties to work together on a

protective order.11

           13.   Oltmann may not like or agree with the court’s analysis of his invocation of

the Reporter’s Privilege in Coomer v. Donald J. Trump for President, but claiming that the

court did not even engage in that analysis is a knowingly false argument to this Court, and

one on which Oltmann’s legal argument relies in substantial part.

           14.   Similarly, Oltmann misrepresents the district court’s rulings in this case when

he states, “On April 8, 2024, a hearing was held before the magistrate judge which resulted

in the district court denying Oltmann’s Objection to Subpoena and motion for Protective

Order. Once again, the presiding judge sidestepped the issue of privilege and scheduled

what would be Oltmann’s third deposition.”12 OB, p. 11. This too is false.




8
    Id. at 71:15-93:8.
9
    Id. at 90:22-91:7
10
     Id.
11
     Id. at 92:19-93:8.
12
  Oltmann frequently complains that he is required to provide testimony in the numerous
lawsuits that his lies have given rise to. Dr. Coomer, who has been deposed five times and
expects to be deposed several more, similarly regrets the toll that Oltmann’s lies have
inflicted.



                                                7
         15.    In reality, the issue of “privilege” was raised multiple times in that hearing.13

In every instance, Oltmann only raised questions of attorney-client privilege. Not once did

he ever raise or assert the Reporter’s Privilege. And in every instance, Judge Starnella

addressed those concerns thoroughly and issued her orders on the basis of lengthy

arguments from Oltmann’s counsel on those privilege concerns.14 Corporon does not

disclose to the Court that those matters pertained to his own communications with Oltmann.

If eventually produced, as ordered, those communications may impact Corporon’s own

personal liability in Coomer v. Salem Media of Colorado, Inc. et. al.

         16.    It is not clear whether Corporon simply did not read the transcript of that

hearing, or if he did and is deliberately misrepresenting the record. In either case, these

false statements to the Court are sanctionable.

         ii.    Misrepresentation of Oltmann’s legal representation

         17.    Oltmann also attempts to argue that he was acting pro se in the underlying

proceeding. He states that his counsel, Mark Sares, “appeared in a limited role to defend

Oltmann in a single deposition.” Oltmann concludes by arguing that he was “for all intents

and purposes acting pro se with regard to protecting his right to assert the newsperson’s

privilege.” OB, p. 29. These are complete and utter falsehoods.

         18.    Entries of limited appearance are governed by D.C.COLO.LAttyR 5(a)(2).

Specifically, the Rule establishes the following requirements:


13
  Exhibit E, Coomer v. Make Your Life Epic dba Thrivtime Show et. al., Hearing Transcript
(Apr. 8, 2024), at 45:20-23; 51:18-24; 52:10-53.
14
     Id. at 27:22-28:28:9; 36:4-22; 44:8-45:10.



                                                  8
                As permitted under D.C.COLO.LAttyR 2(b)(1), an attorney
                may provide limited representation to an unrepresented party
                or an unrepresented prisoner in a civil action by order
                granting a motion which defines the scope of limited
                representation with reasonable particularity and certifies
                the approval of the unrepresented party or unrepresented
                prisoner. Any change in the scope of limited representation
                must be approved by this Court.

D.C.COLO.LAttyR 5(a)(2) (emphases added).

         19.    None of that happened here. Mr. Sares’ Entry of Appearance indicated no

limitation.15 Nor did Mr. Sares’ representation result in any limitation. On the contrary, he

appeared at multiple hearings, and filed multiple motions, responses, and replies. In fact,

he is still Oltmann’s counsel of record in the district court to this day, including with respect

to pending motions that directly address arguments arising from the Contempt Order.16

         20.    Mr. Corporon’s reason for making this false and frivolous argument is clear.

If Oltmann actually were representing himself pro se, he would have access to an additional

line of argument that could conceivably present a glimmer of potential relief under the

Tenth Circuit’s firm waiver rule.17 But Mr. Corporon would need to explicitly misrepresent

the record to the Court in order to make that argument, which is precisely what he has done.




15
     Exhibit F, Entry of Appearance for Non-Party Joseph Oltmann (Feb. 15, 2024).
16
  See, e.g., Exhibit G, Non-Party Joseph Oltmann’s Response to Plaintiff’s Motion for
Attorney’s Fees and Costs (Oct. 4, 2024), signed by Mr. Sares and filed after Oltmann’s
Notice of Appeal.
17
     See OB, p. 24, arguing for application of lower standard for pro se litigants.



                                                9
        iii.   Other material misrepresentations

        21.    Oltmann also makes overt misrepresentations of fact with regard to the

underlying basis of this dispute. For example, in describing the supposed “antifa call,”

Oltmann states, “Oltmann could hear someone self-identified as ‘Eric’ from ‘Dominion’

assuring the calls participants to ‘not worry about Trump’ and that he ‘made f—king sure’

Trump would lose.”       OB, pp. 12-13 (emphasis added).        There are multiple blatant

falsehoods here that both Oltmann and Corporon know to be false.

        22.    First, Oltmann has never claimed that someone “self-identified as ‘Eric’ from

‘Dominion’” made the statements he claims to have overheard. He has always maintained

that an anonymous third party identified another anonymous third party as “Eric” and that

they yet another anonymous third party referred to the anonymous “Eric” as “the Dominion

guy.”

        23.    As the Colorado Court of Appeals recently discussed,

               [T]he underlying source of Oltmann’s story is “an anonymous
               person identifying another anonymous person as ‘Eric, the
               Dominion guy.’ (citing Coomer v. Donald J. Trump for
               President, Inc., 552 P.3d 562., ¶ 163. To connect this to Eric
               Coomer, Oltmann – and subsequently Corporon – relied
               “entirely on (1) the fact that Coomer was a person named ‘Eric’
               who worked at Dominion Voting Systems, and (2) Coomer’s
               social media posts in opposition to President Trump. Id. at
               ¶ 164. Neither Oltmann nor Corporon had actual firsthand
               knowledge that Coomer interfered in the election or
               participated in the call.

Coomer v. Salem Media of Colorado, Inc., 2025 WL 209253, *9 (Colo. App. Jan. 16, 2025).

        24.    This is an overt misrepresentation of material fact intended to give Oltmann’s

false story some semblance of legitimacy where there is none. It also glosses over multiple



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layers of hearsay. As with other misrepresentations, it could also serve to insulate Corporon

himself from personal liability if this Court were to mistakenly rely on that falsehood in its

order in this appeal.

           25.   As a significant sidenote, this quotation is not even the statement that

Oltmann has claimed the anonymous “Eric” supposedly said. Rather, Oltmann has claimed

that the anonymous “Eric” stated, “Don’t worry about the election. Trump’s not going to

win. I made f-ing sure of it.”18 Even Oltmann himself has always described this alleged

statement as a “paraphrase.”19 But the fact remains that after four years, neither Oltmann

nor Corporon can even agree on what the anonymous “Eric” allegedly said. This is

supposedly Dr. Coomer’s confession to what would have been one of the biggest crimes in

American history. It is the essential lynchpin upon which every other element of Oltmann’s

story necessarily turns. And yet, after all these years, two of the leading promoters of that

false narrative still cannot get their story straight.

C.         Appellant’s Opening Brief Makes Frivolous Legal Arguments.

           26.   As discussed above, and addressed more thoroughly in Dr. Coomer’s Answer

Brief (filed simultaneously herewith), Oltmann’s Opening Brief is comprised of and relies

entirely on arguments which are frivolous, unsupported by existing law, and for which there

is no good faith argument for extending existing law. Those arguments are themselves

necessarily premised on blatant misrepresentations of material fact.



18
     Exhibit H, Plaintiff’s Second Amended Complaint, ¶ 31.
19
     Id.



                                                11
D.     Appellant’s Opening Brief Does Not Comply with Tenth Circuit Rules.

       27.    The Federal Rules of Appellate Procedure require that an Appellant’s

opening brief contain a concise statement of the case containing the relevant procedural

history, with appropriate references to the record. FED. R. APP. P. 28(a)(6). They also

require a concise statement of the applicable standard of review for each issue argued. FED.

R. APP. P. 28(a)(8)(B).

       28.    Tenth Circuit Rules require that “factual contentions or denials are supported

in the record.” 10th Cir. R. 46.5(B)(3). “For each issue raised on appeal, all briefs must

cite the precise references in the record where the issue was raised and ruled on.” 10th Cir.

R. 28.1(A). For cases with an appendix, “References to the record should be by volume

and page number.” 10th Cir. R. 28.1(A)(1). “Briefs must cite the precise references in the

record where a required objection was made and ruled on, if the appeal is based on . . . any

act or ruling for which a party must record an objection to preserve the right to appeal.”

10th Cir. R. 28.1(B)(3). Oltmann’s Opening Brief does not adhere to any of these rules.

       i.     Inadequate procedural history

       29.    First, Oltmann’s Opening Brief does not contain an accurate recitation of this

case’s procedural history. For example, it discusses Dr. Coomer’s “Motion for Sanctions”

and makes representations about the contents of that Motion. OB, pp. 18-19. But

Dr. Coomer never filed a Motion for Sanctions. The absence of citation makes the

argument impossible to follow.

       30.    The Opening Brief’s section on procedural history also omits numerous

relevant events in the proceedings below. Notably, Oltmann does not cite to or include in



                                             12
his appendix a single filing made by Dr. Coomer in the various motions at issue here. In

fact, there is no indication that Corporon read any of those. A substantial portion of

Oltmann’s argument, for example, asserts that Dr. Coomer did not apprise the court of

Oltmann’s invocation of the Reporter’s Privilege in another case several years ago. But

Dr. Coomer did apprise the court of that failed effort in his very first response to Oltmann’s

Motion for Protective Order.20

       31.    These procedural omissions are so significant that they have required

Dr. Coomer to compile and file six supplemental appendices just to be able to cite to what

occurred.

       ii.    Missing or false standard(s) of review

       32.    Oltmann also fails to point the Court to any relevant standard of review. The

only effort to do so is on page 17 of his Opening Brief, where he states:

              A district court’s determination of whether a party invoked or
              preserved the newsperson privilege and was entitled to a
              hearing prior to the imposition of severe sanctions including
              possible imprisonment is a mixed question of law and fact
              reviewed by this Court de novo.

OB, p. 17 (citing Dalzell v. Steamboat Springs, 781 F.3d 1201 (10th Cir. 2015).

       33.    The citation to this 37-page opinion notably omits a pin cite, but it could not

include one anyway because Dalzell makes no reference whatsoever to any of those

matters. Instead, it addresses various questions of statutory interpretation under the Land




20
  Exhibit I, Plaintiff’s Response to Non-Party Joseph Oltmann’s Objection to Subpoena
and Motion for Protective Order, p. 3 (Mar. 5, 2024).



                                             13
Sales Act, 15 U.S.C. § 1701. At no point does Dalzell ever address the newsperson

privilege, contempt, sanctions, objections to magistrate recommendations, assertions of

privilege in general, or preservation of objections. It is entirely irrelevant.

           iii.   Baseless assertions of fact

           34.    As discussed above, virtually none of Oltmann’s factual contentions, many

of which are objectively false, cite to any factual support in the record.

           35.    Most significantly, Oltmann does not provide any citation to a single instance

“where the required [Reporter’s Privilege] objection was made and ruled on.” Of course,

he cannot do so because it never was raised until a month after the Contempt Order was

issued, but this fact alone should have compelled Corporon to file a notice of withdrawal.

           36.    Nor does Oltmann’s Opening Brief ever cite to his own appendix. In fact, in

the entirety of Oltmann’s 30-page Opening Brief, he only cites to the district court record

a total of seven times.21 Of those seven citations, three refer to entire documents, and only

four provide pin cites.22 Inexplicably, Oltmann also cites to Exhibits C, H, and T.23 None

of these exhibits are included anywhere in the record, and the corresponding pagination is

unintelligible. The inescapable implication of these random citations, however, is that the

Opening Brief was copied and pasted from a series of disparate documents.




21
     See OB, pp. 9, 11-12, and 15.
22
     Id.
23
  Oltmann refers to “Ex. C” once on p. 25; “Exhibit H” six times on pp. 10, 12-13, 20, and
26; and “Exhibit T” twice on pp. 11 and 14.



                                                14
         37.    These errors make responding to or making any sense of the Opening Brief

difficult at best. The entire exercise has simply served to force Dr. Coomer, and this Court,

to expend time and expense trying to discern what Oltmann is attempting to argue and on

what basis. These shortcomings are even more egregious given that Oltmann was served

with a deficiency notice by the Court on January 10. Despite having this extra time, his

amended Opening Brief and Appendix still feature all the defects complained of here.

         38.    Dr. Coomer anticipates that Oltmann will request additional time to respond

to these deficiencies in response to this Motion. The Court should not grant Oltmann

additional time to correct these inexcusable deficiencies. Delay is his intent, and both

he and Mr. Corporon have been at this game for years. As discussed below, Oltmann’s

multiple requests for additional time in this proceeding were filed in bad faith.

E.       Prior Bad Faith Requests for Additional Time.

         39.    Oltmann initially waited an entire month to file a Notice of Appeal of the

Contempt Order, despite making public assurances that he was appealing immediately

upon notice of the Order. He ultimately filed that Notice of Appeal on October 4, 2024,24

after the district court ordered that he appear in person for a show cause hearing.25




24
     Exhibit J, Non-Party Joseph Oltmann’s Notice of Appeal (Oct. 4, 2024).
25
   Exhibit K, Amended Minute Order (Oct. 4, 2024) (holding that “Non-Party Joseph
Oltmann is ORDERED to appear at the Evidentiary Hearing set for October 9, 2024 at
9:00 a.m. in person.”) (Emphasis in original.)



                                             15
          40.       Dr. Coomer filed a Motion for Expedited Appeal on October 18, 2024.26 The

Court issued an Order setting Oltmann’s Deadline to file an opening brief as December 4,

2024.27 That same day, Oltmann filed his response to Dr. Coomer’s Motion for Expedited

Appeal, wherein he argued that he needed additional time, up to and including January 6,

2025.28

          41.       That Motion made many of the same objectively false representations of

material fact discussed in this Motion, as well as some others. For example, Oltmann

claimed that “Before putting Oltmann on the Antifa conference call, the whistleblower had

two conditions. First, that Oltmann not record the call. Second, that Oltmann never reveal

his source for fear that the whistleblower could be tracked, threatened and/or killed.”29

These remarkable assertions have never been claimed by Oltmann anywhere before or

since in now more than four years of various related proceedings. Unsurprisingly, they are

unsupported in his Motion for Extension of Time as well. Dr. Coomer will not reargue the

numerous reasons that Oltmann’s baseless claims of supposedly “fearing” for his alleged

source’s “safety” are completely without merit, but those too were raised with the lower




26
  See ECF 6-1, Appellee’s Motion for Expedited Appeal Pursuant to Tenth Circuit
Rule 27.5 (Oct. 18, 2024).
27
     See ECF 18, Docketing Notice (Oct. 25, 2024).
28
  See ECF 19-3, Non-Party Appellant’s Response to Appellee’s Motion for Expedited
Appeal and Motion to Extend Time to File Brief Pursuant to Tenth Circuit Rule 27.5
(Oct. 25, 2024).
29
     Id. at p. 5.



                                                16
court.30 Oltmann cannot meaningfully rebut any of these numerous bases, nor does his

Opening Brief attempt to do so.

           42.     In any case, Oltmann’s second Motion for Extension of Time makes clear

that he had done little to nothing at all with the time afforded him by the first extension.

On January 3, 2025, the Friday before his Monday, January 6 deadline, Oltmann requested

an additional ten days.31 In that Motion, Corporon admitted that he had little to nothing to

show for the three-month period between filing the Notice of Appeal and the Opening Brief

filing deadline. Corporon admitted he attempted to outsource the Opening Brief to an

unidentified third party, stating, “Undersigned counsel hired experienced counsel to

research and create drafts for undersigned counsel’s review.        Said counsel recently

abandoned the project and undersigned counsel, with minimal results.”32 Corporon further

claimed that he “became ill and was limited in his ability to work on the briefing over the

last 5-6 weeks.”33 Receiving no response from the Court, Corporon ultimately filed the

Opening Brief at 9:22 pm on the deadline, January 6, 2025.




30
   Exhibit L, Plaintiff’s Response in Support of Recommendations of United States
Magistrate Judge for a Finding of Civil Contempt Against Third Party Witness Joseph
Oltmann, pp. 6-10 (July 12, 2024).
31
  See ECF 21, Nonparty-Appellant’s Motion for 10-Day Enlargement of Time to File
Opening Brief.
32
     Id. at p. 2
33
     Id.



                                              17
       43.    These representations, in conjunction with the Opening Brief itself, allow the

Court to reasonably infer that Corporon did not utilize any of the additional time afforded

by the Court to actually work on the Opening Brief.

F.     Request for Sanctions.

       44.    Attorneys in Colorado have an ethical duty of candor to the Court.

Colo. RPC 3.3. Pursuant to that ethical obligation, a lawyer shall not knowingly make a

false statement of material fact or law to a tribunal or fail to correct a false statement of

material fact or law previously made to the tribunal by the lawyer. Colo. RPC 3.3(a)(1).

Nor shall a lawyer offer evidence that the lawyer knows to be false. Colo. RPC 3.3(a)(3).

Corporon has not adhered to those standards.

       45.    Dr. Coomer requests dismissal of this frivolous appeal.         See 10th Cir.

R. 46.5(C)(1). He also requests all of his fees and costs associated with having to respond

to this appeal. See 10th Cir. R. 46.5(C)(4). He further requests a recommendation to the

district court that, due to the appeal’s frivolity, the daily $1,000/day sanction imposed

should not have been stayed, and that the sanction should be understood to have run from

the time of the district court’s order on September 4, 2024. See 10th Cir. R. 46.5(C)(1).

       46.    Dr. Coomer defers to the Court’s discretion as to whether further sanctions

pursuant to Tenth Cir. R. 46.5(C)(3) are mandatory, but asserts that the facts giving rise to

this Motion suggests initiation of disciplinary proceedings is similarly warranted.




                                             18
                                     CONCLUSION

       For all of the reasons stated herein, Eric Coomer, Ph.D. respectfully requests an

Order sanctioning both Oltmann and his counsel for this frivolous appeal, and that the

Court establish an expedited schedule that will allow for timely resolution of the appeal.

       Respectfully submitted this 4th day of January 2025.


                                                 /s/ Charles J. Cain
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                            CERTIFICATE OF SERVICE

       I hereby certify that on February 4, 2025, a true and correct copy of the foregoing
Motion was filed with the Court using the CM/ECF Filing System which will send
notification of such filing to:

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